  Case: 1:10-cv-00050-JCH Doc. #: 7 Filed: 10/25/12 Page: 1 of 1 PageID #: 180


                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION


BILLY GENE RIPPEE,                            )
                                              )
            Movant,                           )
                                              )
      vs.                                     )          Case No. 1:10CV50 JCH
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
            Respondent.                       )


                                        JUDGMENT

       In accordance with the Memorandum and Order entered this day and incorporated herein,

       IT IS HEREBY ORDERED, ADJUDGED and DECREED that Movant Billy Gene

Rippee’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 is

DENIED, and his claims are DISMISSED with prejudice.



Dated this 25th day of October, 2012.



                                              /s/Jean C. Hamilton
                                              UNITED STATES DISTRICT JUDGE
